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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,
                                              Plaintiff,

 v.                                                          Case No. 1:19-cv-2173-CJN

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,
                          Defendants.

                                      JOINT STATUS REPORT
        Per this Court’s most recent minute order, the parties have met and conferred and now submit

this joint status report. The Court asked the parties to “infor[m] the Court of their positions on the

status of this case, including any proposal for further action by the Court.” Minute Order (Oct. 25,

2022). The parties state their respective positions below.

                                            Plaintiff’s Position
        Plaintiff stands by his position in the prior joint status report, see Doc. 56, with one

modification. Plaintiff continues to believe that the TRUST Act covers only the sitting President; but

absent some assurance from the Committee that it agrees, that it will not invoke New York’s TRUST

Act during the current Congress, or that it will at least notify Plaintiff before it does, Plaintiff continues

to need the protection of this Court’s prior order (Doc. 52). Plaintiff acknowledges, though, that a

new House will be sworn in on January 3, 2023. Because the next Committee could take a different

view of the TRUST Act—thus allowing this case to be settled or voluntarily dismissed—Plaintiff

respectfully asks the Court to order the parties to submit another joint status report in 60 days. See

Comm. on Judiciary of U.S. House of Representatives v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008) (entering a

stay in October because “the 110th Congress ends on January 3, 2009” and freezing the status quo

would allow “the new House an opportunity to express their views on the merits of the lawsuit”).
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                                        Defendants’ Position
       The House Committee on Ways and Means (“Committee”) has not taken any action with

regard to the New York state statute or plaintiff Donald J. Trump’s New York state tax returns. The

Committee continues to believe that the Court did not properly respect the constitutional separation

of powers when it issued a preemptive injunction against the Committee despite the fact that the

Committee never took, or even threatened to take, any action that could have been enjoined. Once

this Court dismissed the State of New York defendants for lack of jurisdiction, plaintiff Trump should

have attempted to pursue his claims related to a statute enacted by the state of New York in an

appropriate court in New York, rather than against the House defendants (who in any event have

Speech or Debate Clause immunity).

       Accordingly, this Court should dismiss this case, leaving plaintiff Trump with whatever

available remedies he might seek to pursue against the State of New York.




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Dated: November 22, 2022                    Respectfully submitted,

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